Case 1:12-cv-21109-JJO Document 5-2 Entered on FLSD Docket 04/24/2012 Page 1 of 3



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                      CASE NO. 12-21109-CIV-LENARD/O'SULLIVAN

  ENRIQUE PUYANA MANTILLA,

         Plaintiff,
  vs.

  UNITED STATES DEPARTMENT OF
  STATE, HILLARY RODHAM CLINTON,
  Secretary of State, ERIC H. HOLDER,
  JR., United States Attorney General,
  WIFREDO A. FERRER, United States
  Attorney, Southern District of Florida,

       Defendants.
  ________________________________/

                                  JOINT SCHEDULING FORM
                 [to be attached to and filed with the Joint Scheduling Report]


         The Parties shall jointly complete this Form by providing dates certain (e.g. January 1,
  2006) for each action or event. Unilateral filings will not be accepted.


         DEADLINE OR DATE                    ACTION OR EVENT


         _________________            All motions for joinder of parties or to amend pleadings shall
                                      be filed.

         _________________            The Parties shall each furnish opposing counsel a written list
                                      containing the names and addresses of all fact witnesses
                                      who may be called at trial. Only those witnesses named on
                                      this list shall be permitted to testify at trial.

         _________________            All fact discovery must be completed. The Parties shall be
                                      under a continuing obligation to supplement discovery
                                      responses within ten (10) days of receipt or other notice of
                                      new or revised information.

         _________________            Plaintiff(s) must provide Defendant(s) an expert witness list
                                      accompanied by the summaries and reports required by
                                      Local Rule 16.1(K). Only those expert witnesses named on
Case 1:12-cv-21109-JJO Document 5-2 Entered on FLSD Docket 04/24/2012 Page 2 of 3



                                           Case No. 12-21109-CIV-LENARD/O'SULLIVAN



                               this list and for whom the required summaries and reports
                               have been provided shall be permitted to testify at trial.
                               Within the fourteen-day period after this deadline, Plaintiff(s)
                               shall make the expert witnesses available for deposition by
                               Defendant(s).

        _________________      Defendant(s) must provide Plaintiff(s) an expert witness list
                               accompanied by the summaries and reports required by
                               Local Rule 16.1(K). Only those expert witnesses named on
                               this list and for whom the required summaries and reports
                               have been provided shall be permitted to testify at trial.
                               Within the fourteen-day period after this deadline,
                               Defendant(s) shall make the expert witnesses available for
                               deposition by Plaintiff(s).

        _________________      All expert discovery must be completed.

        _________________      All dispositive, pre-trial motions and memoranda must be
                               filed, as well as any motions to exclude or to limit proposed
                               expert testimony.

        _________________      Mediation shall be completed.

        _________________      Proposed date before which all motions in limine must be
                               filed.

        _________________      Proposed date for joint pre-trial stipulation pursuant to Local
                               Rule 16.1(K)

        _________________      Proposed date for pre-trial conference.

        _________________      Proposed date for trial.



        ADDITIONAL
        DEADLINES OR DATES            ACTION OR EVENT


        ___________________________________________________________________

        ___________________________________________________________________

        ___________________________________________________________________


                                         -2-
Case 1:12-cv-21109-JJO Document 5-2 Entered on FLSD Docket 04/24/2012 Page 3 of 3



                                        Case No. 12-21109-CIV-LENARD/O'SULLIVAN



        ___________________________________________________________________

        ___________________________________________________________________




                                       -3-
